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11
                           UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13
                                               Case No. 2:20-cv-11293-SVW-JPR
14    CALIFORNIA DEPARTMENT OF
      TOXIC SUBSTANCES CONTROL, et al.
15                                             DEFENDANTS’ PRETRIAL BRIEF
                   Plaintiffs and
16                 Counterdefendants,
                                               Judge:      Hon. Stephen V. Wilson
17           vs.
                                               Trial Date: May 11, 2022
18    NL INDUSTRIES, INC., et al.              Action Filed: December 14, 2020
19                 Defendants and
                   Counterclaimants.
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 1                                 STATEMENT OF THE CASE
 2         The compensable cleanup area in this case is no more than 0.5 miles from the
 3   former Exide smelter (“Vernon Plant”) in any direction. Vernon Plant contamination is
 4   not detectable in residential soils outside that radius. To the extent that trace quantities of
 5   lead from the facility traveled farther than 0.5 miles, they are not visible in soil data, and
 6   are far below both background levels of lead and DTSC’s own cleanup threshold –
 7   effectively drops in an ocean of legacy lead from paint, gasoline exhaust, and other
 8   industrial sources. As such they do not satisfy CERCLA’s requirement of some causal
 9   nexus between contamination and cleanup. This means that while the State of California
10   may choose to remediate lead contamination in residential soils surrounding Vernon
11   resulting from decades of exposure to common urban sources other than the Vernon
12   Plant, those costs are not compensable under CERCLA from the Vernon Plant parties.
13         Lead has been used and released into the air and soil of Los Angeles – from
14   deteriorated lead paint, leaded fuel emissions, industrial plants and other sources – for
15   more than a century. This is particularly true in DTSC’s “preliminary investigation area”
16   (“PIA”), where the majority of the residential properties were first developed before 1940
17   and 90 percent were developed before lead-based paint was banned. For decades, those
18   structures were caked in layers of lead-based paint, which deteriorated over time, flaked
19   or was scraped off, and blew into surrounding yards. Nearby, Los Angeles’ infamous
20   traffic clogged the highways, sending leaded vehicle exhaust over lawns and patios. For
21   a time, lead-based pesticides were in vogue for controlling weeds like crabgrass, and
22   would have been sprayed periodically by residents directly onto their yards. A vast array
23   of industrial operations contributed yet more lead to the environment.
24         As a result of all this history, the accumulated “urban background” level of lead in
25   the soils of Los Angeles County (ranging between 120 and 250 parts per million or
26   “ppm”) generally exceeds DTSC’s 80 ppm residential cleanup standard. In light of its
27   history, it should come as no surprise that Plaintiffs’ own experts opine that the levels of
28   lead in PIA residential soils from sources other than the former Vernon smelter would,

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 1   all by itself, exceed DTSC’s 80 ppm cleanup standard. That is, DTSC’s conclusion that
 2   residential properties in the PIA require cleanup would be the same even if the former
 3   smelter had never existed.
 4         The former Vernon smelter sits at the center of the PIA, physically separated from
 5   the residential areas on all sides by a variety of historic industrial properties that represent
 6   an industrial buffer zone between the smelter and the nearest residential properties. Over
 7   the past century, the industrial buffer zone has included a wide range of
 8   operations―including other lead smelters, battery recyclers, and foundries―that would
 9   have released lead and done so in much closer proximity to the residential areas than the
10   former Vernon smelter. Inexplicably, DTSC has never attempted to even investigate,
11   much less measure, the impacts from any of these closer industrial lead sources. Instead,
12   even after its own scientists advised its management and members of the community that
13   there was no pattern of soil contamination tying conditions in the residential areas to the
14   former smelter, DTSC chose to assign all blame to a single facility. But neither common
15   sense nor DTSC’s own cold hard data support the expedient story DTSC has told the
16   community and now tells this Court.
17         Easily observable conditions disprove DTSC’s theory of causation. Basic particle
18   physics demands that deposition of lead from the former smelter would be highest
19   immediately next to the smelter and then gradually decrease in all directions as distance
20   from the original source increases. Indeed, Dr. Walter Shields, an expert in soil science,
21   conducted such an assessment of DTSC’s data and such a pattern of decreasing lead
22   concentrations is readily observable in the industrial buffer zone surrounding the former
23   smelter. But, the expected deposition pattern disappears about a half-mile downwind,
24   well before reaching the residential areas of the PIA. Beyond a half-mile, DTSC’s own
25   measurements of lead levels in the residential areas present a seemingly random
26   patchwork of higher and lower lead concentrations, in which “hot spots” of higher lead
27   concentrations are associated with areas of older residences (i.e., more influenced by past
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 1   leaded paint usage), but are unrelated to their proximity to the former smelter, which
 2   would not occur if the smelter were the “predominant source” of lead in the PIA.
 3         Nor is the chemical “fingerprint” of lead emissions from the former Vernon
 4   smelter found in the residential areas. As Dr. Shields notes, the primary feedstock of
 5   secondary lead smelters, including the former Vernon smelter, is used auto batteries,
 6   which include the element antimony along with lead, meaning the co-occurrence of lead
 7   and antimony can be an indicator of lead that originated at a secondary lead smelter.
 8   While lead samples collected at the former smelter and in the industrial zone around the
 9   former smelter display the expected lead/antimony fingerprint, no such correlation is
10   found in the residential soil samples.
11         DTSC seeks to avoid the easily observable physical evidence by arguing that the
12   conditions presented in the PIA are so complex that its own data should not be accepted
13   at face value. The agency claims that the former smelter is the “predominant” source of
14   lead in the PIA, and dismisses the area’s legacy of lead-based paint, leaded emissions and
15   hundreds of uninvestigated industrial sources located far closer to the residential areas as
16   insignificant. See Declaration of Allen Medine (“Medine Decl.”), ECF 351-2 § VII. But
17   Dr. Medine, DTSC’s primary expert, also claims that “the soil lead data do not show a
18   clear pattern that is visible to the naked eye,” and that – “quite the contrary” – “at first
19   glance the data reveal what appear to be random variations.” Id. ¶ 40. DTSC is insisting
20   that effects from the predominant source are somehow obscured in DTSC’s data by
21   effects from insignificant sources. This contradicts science as well as common sense.
22         In fact, the effect of the Vernon Plant on residential soils is hard to perceive
23   because it does not exist. In addition to the common-sense analyses discussed above
24   regarding soil patterns, winds, and antimony fingerprinting, two experts in this case will
25   present statistical analyses from which they calculate the distance within which historic
26   emissions from the former smelter impacted the measured concentration of lead in soils.
27   Defendants’ expert, Dr. Shahrokh Rouhani, has employed state-of-the-art “geostatistical”
28   techniques that were pioneered and promoted by U.S. EPA for use at complex

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 1   environmental sites, including residential lead investigations. His methods are
 2   memorialized in regulatory guidance and standards published by ASTM International,
 3   among others. By contrast, Plaintiffs’ expert, Dr. Medine – who does not claim to be an
 4   expert in statistics, much less geostatistics – has employed a homemade method using
 5   only generic statistical functions.
 6         Dr. Rouhani’s geostatistical analysis of DTSC’s data, using EPA’s recommended
 7   analytical tool for the task, establishes that the former smelter’s detectable contributions
 8   of lead to surficial soils in the vicinity of the former Vernon smelter extend off-site for
 9   distances ranging from approximately 1500 feet (0.28 miles) to approximately 2825 feet
10   (0.54 miles), depending on direction, all confined to the industrial buffer zone
11   surrounding the former smelter. Dr. Rouhani’s rigorous calculations, relying on DTSC’s
12   own data, demonstrate there are no detectable effects on DTSC’s soil measurements
13   beyond these distances. Rather, multiple lines of statistical analysis reveal that the
14   strongest predictors of the lead level present in a residential soil sample from the PIA is
15   the age of the structure on the property (which correlates with the likelihood of
16   encountering historic lead-based paint) and how close the sample location was to the
17   exterior wall of the residence (where lead-based paint residue would be most
18   concentrated).
19         DTSC has amassed, at great expense, a large and comprehensive dataset recording
20   the concentrations of lead in soil throughout the PIA, including over 216,000 soil
21   samples, of which more than 150,000 are surface samples. Consistent with basic
22   principles of unbiased scientific analysis, Dr. Rouhani strove to include every one of
23   DTSC’s surface soil samples in his assessment, unless there was an objective and
24   quantifiable basis for excluding particular data. In contrast, Dr. Medine rejected the use
25   of all available data. Instead, he subjectively censored his own client’s dataset – in a
26   process he describes as “database manipulations” – that excluded the majority of DTSC’s
27   surficial soil data from any consideration.
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 1         Yet even after all of his non-scientific manipulations, the surviving data points
 2   plotted by Dr. Medine confirm that observable effects from the former smelter are only
 3   apparent in the portion of the industrial buffer zone within a half-mile of the former
 4   smelter, and cannot be detected in any of the residential areas. The factual and scientific
 5   record indicates from every angle that the “predominant” source of the lead in the PIA
 6   residential areas is the legacy of lead-based paint in the older neighborhoods that make up
 7   the PIA, not emissions from a single, distant industrial source.
 8         On this record, DTSC cannot, as a matter of law, establish that emissions from the
 9   Vernon Plant caused the incurrence of response costs under CERCLA. It is undisputed
10   that the urban background level of lead (i.e., the level attributable to historic sources
11   other than the former smelter) within the PIA exceeds the level at which DTSC deems a
12   cleanup necessary, meaning that DTSC would have reached identical conclusions and
13   taken identical actions even if the smelter had never existed. Moreover, Defendants’
14   multifaceted scientific analyses prove that emissions from the former smelter had no
15   detectable effect on the soil sampling results DTSC used to make its cleanup decisions.
16   If the former smelter had no discernable effect on those results, it necessarily could not
17   have caused or contributed to DTSC’s incurrence of cleanup costs based on those results.
18                            “COMPENSABLE CLEANUP AREA”
19         The Court ordered the April 2022 “Scope Trial” for the purpose of determining the
20   “compensable cleanup area” in this case, i.e., the area within which DTSC has
21   established the required legal nexus between contamination from the Vernon Plant and
22   the agency’s incurred and expected cleanup costs. ECF 231. In other words, the
23   “compensable cleanup area” issue involves two core, related questions: (1) How far did
24   lead from the Vernon Plant go? (2) Where did Vernon Plant lead satisfy CERCLA’s
25   fundamental requirement of a nexus between Vernon Plant lead and DTSC’s response
26   costs? Defendants ask the Court to answer these questions following the Scope Trial by
27   actually defining the compensable cleanup area on a map.
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 1         As the “compensable cleanup area” involves legal questions of causation in
 2   addition to factual questions of geography and contaminant migration, this section
 3   provides a brief overview of the applicable law of CERCLA causation. While not the
 4   easiest legal question in environmental law, the causation questions in this case are
 5   relatively straightforward once framed properly.
 6   Causation exists in CERCLA
 7         As a threshold matter, it is critical for the Court to recognize that the requirement
 8   of proving causation exists in CERCLA. Courts occasionally conflate the lack of a
 9   causation requirement in one particular circumstance – “defendant-specific” causation,
10   described below – as an absence of a causation requirement in CERCLA on a conceptual
11   level. But causation in CERCLA is there in the black-letter text of the statute: A
12   defendant is liable for the release or threatened release “which causes the incurrence of
13   response costs.” 42 U.S.C. § 9607(a)(4) (emphasis added). Causation is also embedded
14   in the well-known purpose of the statute – CERCLA is not merely a tax; it instead
15   imposes liability for environmental cleanup on parties in connection with their conduct at
16   a site. See, e.g., United States v. Burlington Northern & Santa Fe Ry. Co., 520 F.3d 918,
17   933 (9th Cir. 2008) (“A key purpose of this [CERCLA] scheme is shifting the cost of
18   cleaning up the environmental harm from the taxpayers to the parties who benefitted
19   from the disposal of the wastes that caused the harm.”), rev’d on other grounds, 556 U.S.
20   599 (2009) (internal quotes and citation omitted). Congress enacted CERCLA “to force
21   polluters to pay for costs associated with remedying their pollution,” and “one of the
22   statute’s principal goals is ‘assuring that those who caused chemical harm bear the costs
23   of that harm.’” United States v. Alcan Aluminum Corp., 964 F.2d 252, 257-58 (3d Cir.
24   1992) (citing and quoting legislative history) (emphasis added). CERCLA does not
25   require negligence, but nor does it hold a defendant at one site responsible for similar
26   contamination at all sites. See, e.g., Thomas v. FAG Bearings Corp., 846 F. Supp. 1382,
27   1387 (W.D. Mo. 1994) (CERCLA without causation would mean that “[a] party who
28   discovers TCE groundwater contamination in Missouri could successfully sue every party

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 1   who released TCE in the entire country. Although CERCLA's liability provisions are far-
 2   reaching, there is no indication that Congress intended this absurd result.”). A causal
 3   nexus is required between a defendant’s actions and a plaintiff’s cleanup costs.
 4   Two types of CERCLA causation
 5         The key insight is that CERCLA cases draw a distinction between two different
 6   types of causation questions. In the first type, a CERCLA defendant argues that its own
 7   individual contribution to environmental contamination did not – on its own, among
 8   many other contributors – cause the plaintiff to incur response costs. In these cases,
 9   courts are in wide agreement that a plaintiff need not prove individual causation against
10   individual defendants. Such distinctions are often simply too difficult to untangle as a
11   matter of threshold liability, and so the untangling is left for a later allocation phase. This
12   common circumstance has produced many quotations in many CERCLA cases to the
13   effect that “[t]he government is not required to show that a specific defendant’s waste
14   caused the incurrence of cleanup costs in order for strict liability to attach to that
15   defendant.” See, e.g., United States v. Alcan Aluminum Corp., 315 F.3d 179, 184 (2d Cir.
16   2003) (emphasis added). As noted above, such citations are sometimes used overbroadly,
17   and the critical distinction – that a plaintiff is not required to prove that a specific
18   defendant’s particular waste caused broader cleanup costs to be incurred – is lost. This
19   type of causation is referenced here as “defendant-specific” causation.
20         In the other type of causation question – essentially, “collective” causation – it is
21   not one defendant’s contamination at issue, but all of the contamination from the
22   defendants, and the question at issue is whether any defendant caused the plaintiff to
23   incur cleanup costs. CERCLA requires, on a basic level, that cleanup be causally
24   connected to the activities of site-specific defendants. This is the causation requirement
25   that prevents a plaintiff from cleaning up all TCE contamination in the country and
26   charging it to one polluter in Missouri, see supra, or – more to the point – prevents DTSC
27   from cleaning up all soil lead in the Los Angeles area and charging it to the former
28   owners and customers at a single battery recycling facility in Vernon. Courts are in wide

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 1   agreement about collective causation too, to the extent the distinction is observed. See,
 2   e.g., Kalamazoo River Study Group v. Rockwell Intern. Corp., 171 F.3d 1065, 1068 (6th
 3   Cir. 1999); Alcan, 964 F.2d at 264-266 (government need not prove that defendant’s
 4   emulsion caused a release or caused the incurrence of response costs; “[r]ather, the
 5   Government must simply prove that the defendant’s hazardous substances were deposited
 6   at the site from which there was a release and that the release caused the incurrence of
 7   response costs.”) (emphasis in original). Where the release at issue is collective in nature
 8   – as airborne lead emissions from the Vernon Plant are collective here – then defendant-
 9   specific causation principles do not apply. The plaintiff must prove that the collective
10   release caused the incurrence of response costs.
11   The Ninth Circuit test for CERCLA causation in this case
12         The Ninth Circuit observes this distinction and ratifies that a CERCLA plaintiff
13   must actually prove that a release caused the incurrence of response costs. Indeed, DTSC
14   does not disagree; the agency conceded earlier in this case that “Plaintiffs do not dispute
15   that under CERCLA, Plaintiffs must show that the releases from the Vernon Plant caused
16   Plaintiffs to incur response costs[.]” See ECF 240, at 7:26-27 (DTSC reply in support of
17   motion to strike affirmative defenses). In Boeing Co. v. Cascade Corp., 207 F.3d 1177
18   (9th Cir. 2000), the Ninth Circuit explains that the collective causation requirement in
19   Section 107(a)(4) of CERCLA is a “but-for” or “sine qua non” standard, except in cases
20   where response costs are “causally overdetermined,” meaning that multiple sources
21   independently caused the same response costs. Id. at 1182-86. In other words, a
22   CERCLA plaintiff can recover response costs from defendants only if response costs
23   would not have been incurred in the absence of the defendants’ collective contribution
24   (“sine qua non” causation), unless the defendants’ collective contribution were also
25   independently sufficient to require response costs even in the absence of other causes
26   (“causal overdetermination”). Id. The practical application of this standard is explained
27   in more detail in Carson Harbor Village, Ltd. v. Unocal Corp., 287 F. Supp. 2d 1118,
28   1185-89 (C.D. Cal. 2003).

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 1         This is DTSC’s burden under Ninth Circuit law: It must prove that Defendants
 2   caused the agency to incur response costs, and it must do so by proving that either (1) in
 3   the absence of the Vernon Plant, no soil remediation in the residential areas would have
 4   been necessary (“sine qua non” causation) in spite of the contributions of historic lead
 5   paint, leaded gasoline emissions, and other local industry, including multiple other
 6   smelters; or (2) soil remediation in the residential areas would have been required as a
 7   result of Vernon Plant emissions even if those other sources themselves had not existed
 8   (“causal overdetermination”). The arguments in the remainder of this brief demonstrate
 9   that neither of these propositions is remotely true: Cleanup would have still been
10   necessary in the absence of the Vernon Plant, but cleanup would not have been necessary
11   in the absence of all other lead sources in the residential areas.
12         DTSC is expected to argue that a different framework applies to the burden of
13   proof for CERCLA causation: the burden-shifting approach of Castaic Lake Water
14   Agency v. Whittaker Corp., 272 F. Supp. 2d 1053 (C.D. Cal. 2003), which has been
15   adopted by a handful of other District Court opinions within the Ninth Circuit. Under
16   Castaic Lake, the plaintiff must prove a prima face causation case by (1) identifying a
17   contaminant where response costs are incurred; (2) identifying the same (or a chemically
18   similar) contaminant at the alleged source; and (3) proving a plausible migration pathway
19   for the contaminant between the source and the location of response costs. Id. at 1066.
20   Under the Castaic Lake approach, if this prima facie is established, the burden shifts to
21   the defendant to “disprove” causation. Id.
22         Castaic Lake is not consistent with the Ninth Circuit’s Boeing decision and was
23   wrongly decided.1 Boeing makes clear that a plaintiff has a certain burden of proof with
24   respect to causation, and Castaic Lake does not justify reversing that burden. The errors
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26   1
      Among other problems, Castaic Lake is inconsistent with the later-decided U.S.
27   Supreme Court case Schaffer v. Weast, 546 U.S. 49, 56 (2005) (“Absent some reason to
     believe that Congress intended otherwise… we will conclude that the burden of
28
     persuasion lies where it usually falls, upon the party seeking relief.”).
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 1   in Castaic Lake seem to be (1) its reliance on out-of-circuit cases that do not distinguish
 2   clearly enough the “defendant-specific” and “collective” causation standards; and
 3   (2) insufficient attention to Boeing, which is not cited. The result is analytical muddle.
 4         Even if Castaic Lake does apply, however, Defendants prevail in this case for the
 5   same reasons explained above. Castaic Lake and its progeny do not explain what it
 6   means to “disprove” causation, but since the Ninth Circuit standard for causation is set
 7   forth in Boeing and is not altered by Castaic Lake, a reversal of the burden of proof
 8   would simply mean that Defendants would have to affirmatively prove the same elements
 9   identified in Boeing. Specifically, Defendants would need to prove that cleanup in the
10   residential areas would still be necessary even in the absence of the Vernon Plant, but
11   cleanup would conversely not be necessary in the absence of all other lead sources in the
12   residential areas. As set forth below, Defendants will easily prove these points.
13   Divisibility
14         Even if DTSC carries its burden with respect to causation, the Court can confine
15   the compensable cleanup area to the industrial area if it identifies a reasonable basis for
16   apportioning the overall harm at the site on such a basis. Burlington Northern and Santa
17   Fe Ry. Co. v. U.S., 556 U.S. 599, 613-14 (2009) (apportionment is proper when there is a
18   reasonable basis for determining the contribution of each cause to a single harm, which
19   may include geographic considerations). This is commonly referred to as “divisibility”
20   and it is embodied in the terms of Section 443A of the Restatement (Second) of Torts.
21   Matter of Bell Petroleum Services Inc., 3 F.3d 889, 897 (1993) (Congress understood
22   CERCLA could produce harsh and unfair results, and intended for courts to use common
23   law principles of the Restatement to ameliorate that harshness).
24         If Defendants’ proof provides the Court with a reasonable basis for distinguishing
25   between the industrial and residential areas with respect to the harm from lead
26   contamination, the “compensable cleanup area” should still be defined to include the
27   industrial area alone.
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 1                     FACTUAL AND PROCEDURAL BACKGROUND
 2   The nearby industrial and distant residential areas
 3         The Vernon Plant is situated within a much larger, highly industrialized area in
 4   Vernon, California. The City of Vernon and neighboring Commerce were founded as
 5   exclusively industrial cities in the early 1900s. See Declaration of Walter Shields,
 6   (“Shields Decl.”), ECF 354 ¶¶ 7, 63. Now and historically, a dense array of commercial
 7   operations has fully encircled the facility. Id. Neighboring facilities have included metal
 8   foundries and smelters, railroads, can-making, metal scrap yards, machine plants, asphalt
 9   plants, and petroleum refineries. Id. ¶ 10. The former Los Angeles municipal incinerator
10   and several other industrial incinerators were located nearby. Id. ¶¶ 9-11.
11         A number of residential areas are located outside the larger industrial area,
12   including the communities of Huntington Park, Maywood, Commerce, Boyle Heights,
13   Bell, and East Los Angeles. Id. ¶ 8. These are the areas where property-by-property
14   cleanup is the driver of environmental response costs in this case. The closest residential
15   property to the Vernon Plant is approximately 4,000 feet from the facility. Id. ¶ 9. Thus,
16   an industrial/commercial zone encircles the Vernon Plant, forming a buffer between the
17   Vernon Plant and the residential areas. The facility is positioned roughly in the middle of
18   this industrial zone.
19   The Vernon Plant and its history
20         Around 1928, operations had begun at the location of the Vernon Plant. See
21   Exhibit 1 (1923 aerial photograph); Exhibit 2 (1928 aerial photograph); Exhibit 3 (Nov.
22   12, 1931 document). See also Shields Decl. ¶ 12. Documents available from 1931 show
23   that the operations already had pollution control measures that featured a “bag house,” a
24   pollution control device which traps particles of lead and other metal particulates before
25   they are emitted into the atmosphere. See Ex. 3 (Nov. 12, 1931 document). Over the
26   years, the Vernon Plant was upgraded and featured an increased the number of baghouses
27   and other pollution control equipment over the years, including in or about 1949. See
28   Exhibit 4 (1949 Los Angeles Times article). In the 1980s, the facility underwent a

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 1   modernization upgrade where six new baghouses, which encompassed 34,000 square
 2   feet, were installed to capture lead particulates. See Shields Decl. ¶ 14. Through these
 3   measures, the facility captured tons of metallic particulates, which it recycled for lead
 4   recovery. Id.
 5         As a DTSC-regulated battery recycling facility, the Vernon Plant served thousands
 6   of customers across California and nationwide, with the state-encouraged goal of keeping
 7   spent batteries and their materials out of the waste stream and the environment.
 8   Lead contamination in the residential areas
 9         Lead is a naturally occurring element existing in all California soils, occurring at
10   an average of 23.9 ppm in the state and ranging between 12.4 and 97.1 ppm. Shields
11   Decl. ¶ 15. Lead contamination has been identified throughout the residential areas of the
12   PIA, the result of many potential sources. Shields Decl. ¶¶ 15-19. In particular, lead-
13   based paint is a primary source of lead in residential soils. Lead-based paint was
14   frequently used and is commonly found on homes constructed prior to 1940. Id. ¶ 16.
15   Even though lead-based paint was banned for residential use in 1978, the deterioration of
16   historic lead-based paint continues to be a significant potential source of lead
17   contamination. Id. By one very conservative measure, roughly 61 percent of properties
18   in the residential areas from which samples were taken confirmed the current presence of
19   lead-based paint, though this measure almost certainly does not count homes where lead-
20   based paint contaminated soils in the past but was not detected. Id.
21         Leaded gasoline is also a significant source of lead to the residential areas. From
22   the 1920s until the 1990s, leaded gasoline was the primary commercial gasoline sold to
23   consumers. Id. ¶ 17. The concentration of lead contamination due to leaded-gasoline
24   emissions originates from transportation infrastructure, and the residential areas are
25   transected by several major highways, including I-5, I-710, and SR-60.
26         Finally, the cities that encompass the residential areas, including the cities of
27   Vernon and Commerce, were specifically incorporated to attract industrial and
28   commercial activities, which impacted the lead soil concentrations. Id. ¶¶ 7-8. Numerous

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 1   categories of industrial point sources have been identified that could have potentially
 2   impacted the residential areas, including metal smelters, metal foundries and/or metal
 3   manufacturing, can manufacturing or recycling, battery manufacturing or recycling,
 4   machine plants, petroleum refineries, asphalt plants, automobile repair facilities, and
 5   railyards. Id. ¶¶ 10-11.
 6                                           ARGUMENT
 7         Multiple lines of evidence – soil patterns, winds, antimony “fingerprinting,”
 8   statistical analysis – demonstrate that the contamination radius in this case is 0.5 miles.
 9   DTSC’s case to the contrary, challenged for the first time in this case, has
10   comprehensively fallen apart during the preceding five months of discovery.
11   I.    BASIC SCIENCE SHOWS THAT DETECTABLE CONTAMINATION
           MIGRATED NO FARTHER THAN 0.5 MILES FROM THE PLANT.
12
           A.     Lead levels in soil generally decrease with distance from the Vernon
13
                  Plant up to 0.5 miles, then stop decreasing.
14
           The parties agree on a key point about how to evaluate contamination in this case:
15
     Contamination attributable to the Vernon Plant should be highest closest to the facility,
16
     and should decrease with distance from the facility, particularly in predominant wind
17
     directions. See e,g., Medine Decl. ¶ 48; Shields Decl. ¶ 21. The term for this expected
18
     inverse relationship between contamination and distance is “decreasing gradient.”
19
     Shields Decl. ¶ 21. A decreasing gradient is clearly visible in the first half-mile from the
20
     Vernon Plant, but after that, it disappears, and the pattern in the residential areas is
21
     random and variable, characteristic of legacy lead paint, gasoline exhaust, and localized
22
     industrial sources. Id. ¶¶ 22-26. In particular, a band of sampling southwest of the
23
     facility – the primary downwind direction – shows the lowest lead levels in the entire
24
     contested investigation area, a pattern that effectively disproves DTSC’s central theory
25
     about widespread aerial lead emissions from the Vernon Plant. Id. ¶¶ 28-29. While
26
     elevated lead levels were found near the Vernon Plant, lead levels drop off dramatically
27
     to the southwest, a comparable industrial areas roughly one half-mile downwind of the
28

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 1   Vernon Plant, and then rise again. Id. Aerial emissions from the Vernon Plant obviously
 2   did not skip over these areas of low lead and contaminate the more distant residences
 3   more heavily. Id. ¶ 32. Those areas were contaminated by other sources. Id.
 4         The phenomenon is plainly visible in the figure on the lower left from the report of
 5   Defendants’ expert soil scientist, Dr. Walter Shields. See Shields Decl., Ex. 3. A zoomed-
 6   in view is on the lower right. Id. Ex. 3.
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20         The same phenomenon is visible in the graphs of DTSC’s own expert, Dr. Medine,
21   who also describes a decreasing gradient moving away from the Vernon Plant. Shields
22   Decl. ¶¶ 36-37. Dr. Medine’s graph tries to visually show a decreasing gradient
23   stretching several miles from the Vernon Plant by plotting contamination as a function of
24   distance from the facility. Id. ¶ 34. But Dr. Medine’s graphs make Defendants’ point
25   much better than they make DTSC’s point. Dr. Medine’s graphs actually document the
26   much steeper gradient that Defendants identify, with lead from the Vernon Plant tapering
27   off within 0.5 miles. Id. ¶ 35. This is a remarkable conclusion, because – as discussed
28   infra – Dr. Medine powerfully biased his data set by excluding vast quantities of relevant

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 1   data. Yet the trend Defendants have identified – a lead drop-off within 0.5 miles of the
 2   Vernon Plant, with unrelated lead contamination throughout the residential areas – is so
 3   clear in the data that it shines through even Dr. Medine’s powerful methodological bias in
 4   the other direction.
 5          One of Dr. Medine’s graphs is reproduced below. It depicts average lead levels
 6   (y-axis) with increasing distance from the facility to the north (x-axis). See Shields Decl.,
 7   Ex. 6 (citing Medine report, Fig. 12); see also Medine Decl., ¶ 42, Ex. PX050. Dr.
 8   Medine imposes the dotted red line to depict an approximation of a single, miles-long
 9   decreasing gradient if there were no distinction between the industrial and residential
10   areas. But the dotted red line – representing Dr. Medine’s primary theory that lead levels
11   continue decreasing for miles to the north of the Vernon Plant – is a poor fit for his data.
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 1         Instead, Dr. Medine’s own graph actually shows two separate trends: a steep
 2   decreasing curve within 0.5 miles of the Vernon Plant, and an independent flat line in the
 3   residential area, where there is widespread lead-paint contamination but no lead from the
 4   Vernon Plant. Id. Dr. Medine’s graph is reproduced below with these two trends
 5   emphasized with green lines.
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     See Shields Decl., Ex. 6. The yellow vertical line represents the boundary between the
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     industrial and residential areas almost 4,000 feet from the Vernon Plant. Id. ¶¶ 36-37.
23
     The two separate trends depicted by the green lines – one in the industrial area, one in the
24
     residential area – are clearly a better fit for Dr. Medine’s data than his own red line. Id.
25
     The green trend line on the left represents Vernon Plant lead, decreasing steeply within
26
     the industrial area. This green line points sharply downward toward negligible lead
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     levels – i.e., approaching the x-axis – around 0.5 miles. Id. The green line on the right,
28
     by contrast, depicts higher and essentially steady average lead levels for a mile into the
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 1   northern residential area, where legacy lead paint and other lead contamination is
 2   widespread. Id. Lead levels then unsurprisingly taper slightly in the residential areas
 3   miles away from industrialized southeast Los Angeles.2 Id. The two separate green lines
 4   are a better fit for Dr. Medine’s graph because there are two separate phenomena at work:
 5   Vernon Plant contamination tapers off within the industrial area, and lead in the
 6   residential areas is entirely from other sources.
 7         The same basic pattern is evident in Dr. Medine’s other graphs in different directions
 8   from the Vernon Plant. Shields Decl. ¶ 37. Defendants do not endorse Dr. Medine’s
 9   graphs, but include this example for the purpose of showing that even with its flaws, it
10   cannot hide the basic data trends that support Defendants’ theory of this case.
11         B.     Lead contamination patterns in the residential areas do not correspond
                  to prevailing winds around the Vernon Plant.
12

13         The experts in this case concur that contamination generally follows wind patterns:
14   DTSC’s expert Dr. Medine agreed that lead deposited by airborne emission “is expected
15   to be expressed as a pattern of [lead] concentrations” that are “[e]levated closest to the
16   point source and in areas along the primary wind direction(s).” Medine Tr. 242:16-
17   243:15. DTSC’s air modeling expert, Lyle Chinkin, agrees, noting that the “Expected
18   Deposition Pattern” of airborne lead is “Higher concentrations in primary wind
19   direction(s).” ECF 351-5, Demon. 1. The experts agree that the prevailing winds at the
20   Vernon Plant blow most prominently toward the southwest, with secondary winds to the
21   east and tertiary winds to the north/northeast. See, e.g., Exhibit 5 (“Medine Tr.”), 225:9-
22   226:25; Shields Decl. ¶ 21. Based on these patterns, all experts would therefore agree
23   that Vernon Plant contamination in the residential areas, if it exists, should be expected to
24   be most visible to the southwest of the facility, secondarily to the east, and lastly to the
25   north, followed by other directions not downwind.
26
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27          The appearance of a downward trend toward the last dot in the graph is also
     illusory because the last dot represents a much larger geographic area and does not
28
     include residential samples that could be impacted by lead paint. Shields Decl. n.10.
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 1            The actual pattern around the Vernon Plant is the opposite.
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15   The lowest lead levels in the residential areas are in the two primary downwind
16   directions: southwest and east. Shields Decl. ¶ 28. The map above – prepared by
17   independent researchers, not retained experts in this case – displays clear “cold spots” in
18   the residential areas in those directions. Shields Decl. ¶¶ 30-32. As noted above, the
19   industrial area immediately southwest of the Vernon Plant – the primary downwind
20   direction – contains a band of the lowest lead levels seen in areawide sampling. By
21   contrast, the highest lead levels are where the wind tends to not blow, or blows only
22   weakly. Id. The map depicts “hot spots” across the neighborhoods to the northwest,
23   north, and northeast of the facility, only parts of which are downwind, and then only
24   modestly. Id. The other largest “hot spot” is to the southeast of the Vernon Plant, which
25   DTSC’s expert explicitly identifies as a non-predominant wind direction. Id. These
26   patterns defy DTSC’s own model of how airborne emissions behave in relation to wind,
27   and show that the contamination in the residential areas did not originate with the Vernon
28   Plant.

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 1         As noted above, the experts also agree that contamination should generally
 2   decrease with distance from its source, not increase, in prevailing wind directions. Yet it
 3   is clear in the graph above that the highest lead levels due north of the Vernon Plant,
 4   where tertiary winds blow, are also the farthest away; contamination levels clearly
 5   increase, not decrease, with distance from the facility to the north. Shields Decl. ¶ 32,
 6   Ex. 5. In other words, if the northern “hot spots” are the result of Vernon Plant lead
 7   emissions, those emissions somehow skipped over closer soils, in violation of the laws of
 8   physics and DTSC’s own conceptual model. Id.
 9         For the same reason, Dr. Medine’s conclusions about where Vernon Plant lead
10   migrated make no sense. Dr. Medine opines that Vernon Plant lead migrated 3.0-3.4
11   miles to the north and northeast, but only 1.6-1.8 miles to the east and 1.9-2.8 miles to the
12   southwest. Medine Tr. 39:25-40:21. In other words, Dr. Medine opines that Vernon
13   Plant lead traveled farthest in the third-strongest wind direction. This not only defies
14   common sense; it defies Dr. Medine’s own model for how airborne contamination should
15   behave. Dr. Medine’s conclusions should be disregarded.
16         The same contradiction is evident in the gradient graph created by Dr. Medine
17   specifically for the area to the southwest of the Vernon Plant, where the area’s strongest
18   winds blow from the Vernon Plant, and where all experts agree that downward gradient
19   trends should be most visible if they exist. But Dr. Medine’s graph, again, shows exactly
20   the opposite: Outside a half-mile, lead is increasing, not decreasing, with distance from
21   the Vernon Plant – the blue dots are going up, not down, as distance from the Vernon
22   Plant increases to the southwest. Shields Decl. ¶ 29, Ex. 4. The Vernon Plant is not the
23   source. Id.
24         Specifically, in the graph on the next page, Dr. Medine again tries to impose his red
25   dotted-line, but it looks nothing like the data pattern. Shields Decl. ¶ 29. He suggested at
26   his deposition that a foundry to the southwest, Bethlehem Steel, was the cause of the
27   increasing lead that begins more than two miles (~10,000 ft.) southwest of the Vernon
28   Plant, but confronted with the fact that Bethlehem Steel was less than two miles from the

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 1   Vernon Plant and therefore also
 2   upwind of the trend of increasing
 3   lead levels, he conceded that the
 4   trend     of   rising   lead    levels
 5   downwind to the southwest is
 6   unexplained. Medine Tr. 250:16-
 7   253:25.
 8           In fact, this graph of the lead
 9   levels in the southwest direction
10   from the Vernon Plant is another
11   direct refutation of DTSC’s theory
12   of this case.     DTSC’s expert committed to an explanatory model that claims that
13   contamination should decrease with distance from its source, particularly in dominant wind
14   directions. If this is true anywhere, it should be true to the southwest of the Vernon Plant
15   where winds blow the strongest, but the actual data show that lead levels rise steadily with
16   increasing distance from the facility in this direction, across two miles of residential areas.
17   DTSC’s expected contamination patterns are not appearing because the Vernon Plant was
18   not the source of contamination in the residential areas.
19           C.     A known smelter “fingerprint” is strongly visible in soil sampling in the
                    industrial areas, but absent in the residential areas.
20

21           An element called antimony is often found together with lead at secondary lead
22   smelter sites because antimonial lead was used in lead batteries and antimony was used as
23   an alloy for certain lead products. Shields Decl. ¶¶ 65-66. Antimony is also found in
24   typical urban soils, but at much lower levels, from things like wheel weights or friction
25   material on brake pads. Id. ¶ 65. This means that the relationship between lead and
26   antimony can be used as a kind of “fingerprint” for smelter-related lead contamination:
27   The statistical tendency of antimony and lead to be found together in soil samples will
28   indicate whether the lead came from a smelter. Id. ¶ 66. Defendants’ expert Dr. Shields

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 1   calculated that the lead/antimony relationship is statistically strong in the industrial area
 2   but statistically weak in the residential areas. Id. ¶ 67. Dr. Medine did not disagree.
 3   Medine Tr. 213:17-216:6; see also id. at 94:17-19. This reinforces the 0.5-mile
 4   contamination radius.
 5         Specifically, the tendency of two variables to be correlated is expressed in a
 6   statistic called the “coefficient of determination,” or R2, which can range from 0 to 1.
 7   Shields Decl. ¶ 68. An R2 value near 1 means that two variables are highly correlated,
 8   e.g., when lead is elevated, antimony is almost always elevated. Id. A R2 value near 0
 9   means that there is little relationship between the variables, e.g., when lead is elevated,
10   antimony could be high or low, with no consistent pattern across samples. Id. This is a
11   commonly used statistical measure; both Dr. Medine and Dr. Shields agree on how to
12   characterize high and low values. Id.; Medine Tr. 93:13-94:19. Dr. Shields calculated
13   that the R2 relationship for lead/antimony in the industrial area of the PIA is 0.81, which
14   both experts agree is a strong relationship. Id. ¶ 69; Medine Tr. 92:7-12, 93:6-11. Dr.
15   Shields calculated that the R2 relationship for lead/antimony in the residential areas of the
16   PIA is 0.18, which both experts agree is a very low R2 value. Id. ¶ 69; Medine Tr. 94:17-
17   19. This “fingerprint” is strong evidence of the limited impact of lead emissions from the
18   Vernon Plant. Shields Decl. ¶ 69.
19         Dr. Medine did not take issue with these calculations or the approach of measuring
20   the statistical strength of the lead/antimony relationship in the industrial and residential
21   areas. Medine Tr. 203:23-217:11. Instead, he argued only that lead/antimony ratios
22   ranged widely in both the industrial area and the residential areas. Id. This is true but
23   irrelevant; lead/antimony ratios range widely across the state, and R 2 values are calculated
24   precisely to determine the correlation of variables even when they range widely. Shields
25   Decl. ¶ 70. Dr. Medine could point to no literature or guidance supporting his antimony
26   analysis. Medine Tr. 205:2-211:16.
27         Finally, Dr. Shields also applied the “downward gradient” analysis to antimony,
28   and found no decreasing gradient of antimony in the residential areas relative to distance

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 1   from the Vernon Plant. Shields Decl. ¶ 71. Medine tried to do the same, but did not
 2   believe enough antimony was present to do the calculation. Medine Tr. 217:16-218:8.
 3         D.     EPA’s state-of-the-art geostatistical methods show that the Vernon
                  Plant had no detectable effect on conditions in the PIA residential areas.
 4

 5         Statistical techniques like those relied upon by Drs. Medine and Singh, are not
 6   sufficiently powerful to calculate the range of impact from a single potential lead source
 7   (such as the Vernon Plant) located amid an uncharted sea of other potential lead sources,
 8   whether they be lead-based paint residues, leaded vehicle emissions, lead-based
 9   pesticides or lead releases from other industrial operations. However, the modern
10   availability of large-scale, low-cost computer processing capability has led to the
11   development and use of a scientific discipline, known as geostatistics, that is capable of
12   answering such questions. Unlike the methods used by Plaintiffs’ experts, which simply
13   process numbers, geostatistics uses the geographic location of each data point to assess
14   “directionality” in the data at a very precise level. Declaration of Shahrokh Rouhani
15   (“Rouhani Decl.”), ECF 352 ¶¶ 14-15. This makes geostatistical techniques particularly
16   well suited to identifying whether, for instance, measurements of soil contamination
17   distributed across a site (like the PIA) can be traced back to a common origin or source.
18   Id.
19         In light of its inherent advantages for environmental assessments, the United States
20   Environmental Protection Agency (EPA) pioneered the use of geostatistics for such
21   assessments beginning in the mid-1980’s. Id. ¶ 16. EPA has since promoted geostatistics’
22   value in environmental site investigations in its guidance documents, and EPA has even
23   published two public domain software programs for use by scientists in performing
24   geostatistical analyses. Id. ¶ 18. In 2003, EPA issued guidance entitled, “Superfund Lead-
25   Contaminated Residential Sites Handbook,” in which EPA explicitly noted the particular
26   power of geostatistics to delineate impacts at residential lead contamination sites and to
27   distinguish between background conditions and contamination:
28

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 1
                   Geostatistics is widely recognized for offering graphical
                   methods that are ideally suited for delineating contaminant
 2                 zones. . . . Geostatistics also provides powerful methods
 3                 for detecting contaminated areas from background when
                   sample locations have not been randomly selected . . . .”
 4
     Rouhani Decl. Ex. 3h (Superfund handbook), ECF 352-10 at 18.
 5
            Dr. Shahrokh Rouhani is an expert in both classical statistics and state-of-the-art
 6
     geostatistics who has conducted geostatistical research and site assessments for both
 7
     public and private entities, including EPA, the Department of Energy and the U.S. Navy.
 8
     See Rouhani Decl. ¶¶ 3-11. Dr. Rouhani applied geostatistical analysis to the very robust
 9
     DTSC dataset of soil lead data and determined:
10
                 The effects of emissions from the former Vernon smelter on measured
11                soil lead concentrations extend between 1,500 and 3,000 feet from the
12
                  Vernon Plant, depending on direction, and are thus confined to the
                  industrial area.3
13
                 The predominant predictors of lead contamination in the residential
14                areas are (i) how long ago a parcel was first developed, and (ii) how
                  close to an exterior wall a sample is collected. Both factors are
15
                  associated with the presence of lead-based paint residues.
16
                 Neither the widespread lead-based paint contamination nor other
17                sources of lead in the PIA are “masking” evidence of a relationship
                  between the Vernon Plant and lead in the residential soils of the PIA.
18
                  Rather, the data simply demonstrate that there is no such relationship.
19
     Id. ¶ 2.
20
            Dr. Rouhani also closely reviewed the statistical validity of the “directional
21
     analysis” upon which Plaintiffs rely and identified a multitude of statistical errors in both
22
     how Dr. Medine subjectively “vetted” his own client’s dataset (resulting in the exclusion
23
     of over half the site data from that analysis) and how Dr. Medine misused commonly
24
     3
25     Dr. Rouhani opines that at its farther extent, contamination reaches 3,000 ft. – or just
     over 0.5 miles – to the east of the Vernon Plant. Declaration of Shahrokh Rouhani
26
     (“Rouhani Decl.”), ¶¶ 32-38. This does not reach residential areas, the closest of which
27   (to the east) is 5,000 ft. away, and there are no response costs at issue in the small 360-ft.
     industrial zone to the east of the Vernon Plant between 0.5 miles and 3,000 ft. See
28
     Shields Decl. ¶ 9. For concision this brief refers to the radius as 0.5 miles.
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 1   accepted statistical procedures when he analyzed that dataset. Id. ¶¶ 50, 69-116. In short,
 2   the results of Dr. Medine’s directional analysis are unreliable conclusions derived from
 3   applying unreliable methods to an unreliable dataset.
 4   II.   DTSC’s CURSORY 2015 CASE FOR A TEN-SQUARE-MILE CLEANUP
           AREA FELL APART WHEN CHALLENGED IN DISCOVERY.
 5

 6         In late July 2015, DTSC gave a PowerPoint presentation to the public and said, of
 7   the residential areas around the Vernon Plant: “Immediate cleanup is not needed”; “Lead
 8   concentrations do not show a simple pattern of dispersion”; and there was “No consistent
 9   decreasing trend in lead concentrations with distance.” Exhibit 6 (DTSC PowerPoint), at
10   5. The public responded negatively, and DTSC quickly pulled the PowerPoint down
11   from its website. Exhibit 7 (DTSC Notice) (“The Department removed the document
12   because it summarizes information in a way that caused concern within the community”);
13   see also Exhibit 8 (“DTSC 2 Tr.”), at 158-164 (“the community can get very irate… they
14   don’t want to hear your explanation of what we have found”). Two months later, in
15   September 2015, DTSC released a report that defined the PIA for the first time as the
16   roughly 1.7-mile contamination radius that is the subject of dispute in this action. See
17   Exhibit 9 (“2015 DTSC Report”).
18         The 2015 DTSC Report and the 1.7-mile definition of the PIA were essentially the
19   work of one DTSC geologist who had never analyzed airborne emissions before, except
20   in a high school project. Exhibit 10 (“Burger Tr.”), at 32:12-21; Exhibit 11 (“DTSC 1
21   Tr.”), at 74:14-75:9. All of the subsequent investigation and cleanup work DTSC did in
22   the ensuing years based on its definition of the PIA – including all of the costs DTSC
23   seeks to recover in this case – were founded solely on this one underqualified geologist’s
24   identification of a 1.7-mile contamination radius. Id., 72:7-15. DTSC’s work defining
25   that boundary was never subject to real accountability until this Court ordered the
26   forthcoming Scope Trial in late 2021, and discovery got underway. Now, discovery over
27   the past five months in this case – again, the first outside scrutiny DTSC’s 1.7-mile
28   contamination radius has ever received – has demolished the analytical basis for the PIA.

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 1         First, fact discovery has demonstrated that DTSC never did any meaningful
 2   investigation into alternative sources of lead in the PIA, despite the existence of
 3   numerous other smelters and other industrial lead sources closer to the residential areas
 4   than the Vernon Plant. A senior manager at DTSC, responsible for corrective action at
 5   the Vernon Plant until 2017, excoriated the agency internally and then publicly for
 6   ignoring other lead sources in favor of Exide. See infra, § I.A. The agency’s blindness to
 7   alternative causes of lead in the residential areas is relevant to the compensable cleanup
 8   area because it fatally undermines the expert case DTSC is making in the Scope Trial.
 9         For instance, a key expert witness whom the agency proffers for the Scope Trial
10   has submitted a declaration claiming that he identified smelter-related lead under a
11   microscope from samples taken at significant distances from the Vernon Plant. See
12   Declaration of John Drexler (“Drexler Decl.”), ECF 351-6 ¶ 29. But a large number of
13   Dr. Drexler’s samples turn out to have been taken directly from other smelter properties
14   or their near-neighbors, closer to the residential areas, a fact that DTSC remarkably did
15   not disclose to Defendants or the Court when the agency produced the data and analysis
16   on the eve of trial. The agency is either attempting to mislead this Court by omission
17   about the actual source of the lead in these samples, or it is – somehow – simply unaware
18   that it tested lead samples taken from the properties of other smelters and concluded that
19   they came from the Vernon Plant. Infra, § I.B.
20         The agency’s arguments about lead “background” levels suffer from the same
21   flaw. The agency seeks to prove that the Vernon Plant contaminated the residential areas,
22   even miles away, on the basis that so-called “background” levels of lead are lower than
23   observed lead. But such a conclusion is only as good as the “background” calculation
24   itself, and the agency calculates “background” in inconsistent and indefensible ways that
25   fail to account for the multitude of other smelters and lead sources closer to the
26   residential areas than the Vernon Plant. The agency cannot even decide what the
27   “background” level is – the number has changed four times, including the night before
28   these briefs were filed. Infra, § I.C.

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 1         DTSC’s primary expert witness ignores relevant information too. In his case, it is
 2   environmental data, which he purports to analyze to find patterns indicating Vernon Plant
 3   contamination in the residential areas. But he has cherry-picked away more than half of
 4   the available samples from his data set for various reasons. Infra, § I.D.
 5         In the end, DTSC does not even propose a definition for “compensable cleanup
 6   area,” the basic purpose of the “Scope Trial” in the first place. DTSC instead offers broad
 7   geographic ranges, which are useless to the Court in actually defining this site and which,
 8   if adopted, would add more uncertainty to this case and its scope, not less. Infra, § II.E.
 9         A.     DTSC refused to consider obvious industrial sources of lead much
                  closer to the residential areas.
10

11         Discovery in this case has revealed that DTSC not only refused to investigate
12   alternative sources of lead to the residential areas – specifically, a number of other
13   smelters and lead processors operating much closer to those areas than the Vernon Plant –
14   but that the agency refused to do so even after significant internal red flags were raised.
15   This is relevant to the compensable cleanup area in this case because much of DTSC’s
16   quantitative analysis for the Scope Trial is premised on the assumption that the Vernon
17   Plant was the dominant contributor of lead in the area, and that analysis falls apart if that
18   assumption is untrue – which it is.
19         The PIA contains over 500 fixed sources of lead, and 355 of these are industrial
20   sources. Shields Decl. ¶ 55. These other industrial sources notably include the Federated
21   Metals/ASARCO lead smelter and refinery located next door to the former Vernon Plant,
22   which operated as a lead smelter from at least 1946 through 1971, and had a stack height
23   of 104 feet. Id. ¶ 57. Other examples of industrial sources of lead emissions located
24   closer to the residential areas than the Vernon Plant include the Western Lead facility in
25   Commerce (1946-1960 lead manufacturing, including production of powdered lead,
26   litharge, red lead, and batteries); Chersky & Sons (metal scrap yard and lead smelter
27   1950s-1970s); Acme White Lead and Color Works (constructed 1928; for roughly 50
28   years operations included paint manufacturing and mixing, and varnish cookers with

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 1   stacks); the Bethlehem Steel foundry (1914-1982, very large facility with as many as 13
 2   open hearth furnaces, and 5 stacks); and Continental Can (metal manufacturing facility
 3   that operated for approximately 50 years and had 10 solder pots with accumulated lead
 4   powder in the ductwork which vented directly out to the roof.). Id. ¶ 58.
 5         DTSC’s own employee responsible for corrective action at the Vernon Plant
 6   through 2017, Philip Chandler, repeatedly asked DTSC to complete a more thorough
 7   investigation of other industrial sources, in order to have “a more evidence-based
 8   approach.” Exhibit 12 (“Chandler Tr.”), 166:3-168:12. In a letter to DTSC’s director in
 9   2015, Chandler charged that the agency had “demonized” Exide “for all off-site lead,”
10   which had the effect of “masking historical airborne emissions contributions from other
11   facilities in DTSC’s portfolio, as well [as] those former smelting, paint manufacturing,
12   scrap operations, etc. not currently in that portfolio.” Exhibit 13 (Chandler letter).
13         Of particular concern to Mr. Chandler was the Continental Can site, located just
14   300 feet from the northern residential area, “much closer to the northernmost of Exide’s
15   ‘nearest affected residents’ than Exide itself.” Id. The Continental Can facility included
16   “metal smelting operations,” and Chandler urged the agency to “require specific
17   investigation of potential off-site deposition/accumulation of the lead-bearing dust… that
18   was directly emitted through its smelting pot ducts into the air from 1927 to 1983.” Id.
19   Mr. Chandler testified in this case that “Continental Can sits closer to the residents that
20   were being – were listed as being impacted by Exide. And we ignored, apparently, the
21   significance of the activities at Continental Can and reached 4,000 feet away to explain
22   lead on the site.” Chandler Tr. 179:24-180:5.
23         Neither Continental Can nor any of the other industrial sources in PIA were
24   evaluated by DTSC for potential contribution of lead to soil in the residential areas.
25   DTSC itself confirmed this in its deposition. DTSC 1 Tr. 104:10-14 (Q: “Was there any
26   effort made to differentiate lead from the Exide facility or the Vernon plant in residential
27   yards from lead from any other industrial sources?” A: “Not that I’m aware of.”).
28

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 1         Now, however, DTSC’s arguments are based primarily on the assumption that the
 2   Vernon Plant was the sole source of industrial lead in the area. For example, DTSC
 3   argues that a recent study on lead-based paint in 30 Los Angeles-area school districts (the
 4   “Waterstone” study) demonstrates that the Vernon Plant contributed lead to the PIA
 5   because lead-based paint contamination in the Waterstone study was lower than
 6   comparable lead-based paint contamination in the PIA. Medine Tr. 183:8-14; 245:10-
 7   246:4; Shields Decl. ¶ 24. But this argument is only relevant in the Scope Trial if the
 8   Vernon Plant is the only industrial lead source in the area, and any industrial contribution
 9   to residential lead levels cannot be explained by other, closer lead emitting facilities. The
10   Waterstone study considered a much less industrial area on average than the PIA, which
11   sits on the border of the cities of Vernon and Commerce, incorporated in the early 1900s
12   specifically to facilitate industrial operations within Los Angeles County and now one of
13   the most industrialized parts of California. Shields Decl. ¶ 24. It is not surprising that
14   there are higher lead levels, on average, from sources other than lead-based paint in the
15   vicinity of Vernon and Commerce than in a cross-section of Los Angeles-area school
16   districts. Id. Indeed, there are many industrial lead sources, including other smelters,
17   that sit much closer to the residential areas of the PIA than the Vernon Plant does. Id. ¶
18   21. But DTSC has consistently refused to investigate those sources.
19         This blind spot manifests in an even more dramatic way in the analysis of DTSC’s
20   microscope expert.
21         B.     DTSC’s late-disclosed microscope expert failed to disclose critical
                  information about alternative sources of lead in the PIA.
22

23         Just weeks before the Scope Trial, DTSC served limited information about
24   previously undisclosed soil samples, collected and analyzed at least five years ago, that
25   the agency claimed bore the hallmarks of smelter lead when analyzed under a
26   microscope, supposedly demonstrating the reach of Vernon Plant lead.4 DTSC’s expert
27   4
       Defendants moved to exclude Dr. Drexler on the grounds that his report is improper
28   rebuttal, and that the data and analysis underlying it were not disclosed in discovery as

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 1   “microscopist,” Dr. John Drexler, used an electron microprobe to evaluate 22 samples
 2   from twelve “residential” and “commercial” addresses within and outside the PIA, and
 3   concluded that 17 of the 22 samples bore at least some traces of so-called
 4   “pyrometallurgical” lead. Drexler Decl., ECF 351-6, ¶ 29. Dr. Drexler’s report implies
 5   that these pyrometallurgical traces are a link to the Vernon Plant, noting that such traces
 6   were found “in the sample… collected furthest from the Exide Site.” Id. This statement,
 7   however, omits a staggeringly relevant fact: The sample collected “furthest from the
 8   Exide facility” was collected at the site of a different lead smelter that DTSC has been
 9   investigating and remediating for decades. In fact, no less than four of the twelve
10   addresses from which Dr. Drexler examined microscopic lead samples were themselves
11   the direct locations of other lead manufacturers or smelters. And a number of Dr.
12   Drexler’s residential samples were taken from the immediate neighbors of other historical
13   lead operations. Dr. Drexler’s report is almost astonishingly misleading.
14         Dr. Drexler’s sample site “furthest from the Exide Site” was taken 2.6 miles to the
15   northwest, at 2182 E. 11th Street (Dr. Drexler’s sample E11-2182). Id., Table 1. This is
16   the location of the former International Co./Western Lead and Metal Co., a lead smelter
17   from 1946-1965.5 Similarly, Dr. Drexler’s sample P-S1 was taken at 4530 E. Pacific
18   Way, the location of the former Western Lead Products lead battery manufacturer from
19   1946-1960.6 Id. Dr. Drexler’s sample E11-2201 was taken at 2201 E. 11th Street, the
20   location of the former Eastern Smelting and Refining, a battery and metal reclamation
21

22

23   required. ECF 339-340. The motion remains pending. DTSC counsel noted at the
24   hearing on that motion that the data in Dr. Drexler’s report may have been withheld as
     work product. But environmental sampling data are not work product and may not be
25   withheld, only to be produced at the eleventh hour for tactical advantage.
     5
26    See DTSC Envirostor ID 19390044; online at www.envirostor.dtsc.ca.gov/
27
     public/profile_report?global_id=19390044 (last visited April 8, 2022).
     6
      See DTSC Envirostor ID 19330383; online at https://www.envirostor.dtsc.ca.gov/
28
     public/profile_report?global_id=19330383 (last visited April 8, 2022).
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 1   operation.7 Dr. Drexler’s Sample E26-4060 was taken at 4060 E. 26th Street, the location
 2   of the former United Industries Corporation fertilizer manufacturing plant next door to
 3   the Federated Metals smelter noted above (itself next door to the Vernon Plant). Id.
 4         Five of Dr. Drexler’s sampling addresses are residential, but two of those
 5   residences are almost directly adjacent to the Continental Can smelting operation that
 6   operated for decades on the border of the northern residential areas, and which DTSC
 7   never meaningfully investigated despite repeated internal requests to do so. Id., Fig. 1.
 8         Finally, on the substance of Dr. Drexler’s report, Dr. Drexler acknowledges that
 9   his methods do not rule out gasoline emissions or weathered lead-based paint as the
10   source of the forms he calls “pyrometallurgical” lead. Id. ¶ 31. Moreover, while Dr.
11   Shields is not qualified to evaluate the microscope-related aspects of Dr. Drexler’s
12   analysis – and DTSC has not produced the actual samples in any case – as a soil scientist
13   Dr. Shields will explain that so-called “pyrometallurgical” lead is not a unique signature
14   of a lead smelter; it is also associated with the other types of industry that were widely
15   present in the area, as well as with weathered lead-based paint and leaded gasoline.
16   Shields Decl. ¶ 23. Dr. Drexler’s opinion is as irrelevant as it is misleading.
17         C.     DTSC’s repeatedly shifting calculations about “background” lead levels
                  cannot define the contamination radius.
18

19         In addition to Dr. Medine’s gradient analysis, with its ill-fitting red dotted-lines,
20   DTSC’s other primary argument in support of its expanded PIA is expected to be a
21   comparison between average lead levels in the residential areas and DTSC’s calculation
22   of the “background” lead level – i.e., the lead level that would exist in the same area if
23   the Vernon Plant had never existed. DTSC will argue that lead levels in the residential
24   areas are “above background,” meaning that lead levels are higher in the residential areas
25   than they theoretically “should” be, thereby supposedly proving that the Vernon Plant
26   contaminated those areas. But DTSC itself cannot decide what the “background” is in
27
     7
      See DTSC Envirostor ID 19330382; online at https://www.envirostor.dtsc.ca.gov/
28
     public/profile_report?global_id=19330382 (last visited April 8, 2022).
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 1   the PIA. The agency has cycled through four calculations of background and ultimately
 2   relies in this case on its first attempt, a 2014 study in Long Beach involving just 19
 3   samples, which the agency admitted was not conducted in accordance with the agency’s
 4   own guidance on “background” studies. The agency has repudiated the Long Beach
 5   study repeatedly but now relies on it as primary evidence in this case.
 6                  1.    DTSC has repeatedly changed its mind, including as recently
                          yesterday, about the “background” lead level in the PIA.8
 7

 8           The first reason the Court cannot rely on DTSC’s “background” projection in the
 9   residential areas is that DTSC itself cannot decide what that number should be. DTSC
10   has now offered four conflicting numbers for “background” in the residential areas.
11           DTSC first ordered a “background” study in 2013-2014, consisting of 19 samples
12   taken in Long Beach, Cal., approximately 14 miles away from the Vernon Plant. See
13   Exhibit 14 (“Long Beach Study”), at ES-1. The Long Beach Study determined that the
14   “background” in the entire PIA, based on those 19 samples, was 76.6 ppm.9 Id. at 5-1.
15   DTSC chose its final cleanup target at this site, 80 ppm, in part based on the study.
16   DTSC 1 Tr. 234:22-235:1; see also Exhibit 15 (Final Removal Action Plan), at ES-2.
17           DTSC itself also apparently later concluded that the Long Beach Study’s
18   “background” result was too low: It “didn’t seem representative of the city of Vernon,”
19   according to an agency scientist who worked on the Exide project. See Burger Tr.,
20   162:23-163:16. Accordingly the agency calculated a second “background” number in a
21   September 2015 report that was the agency’s first attempt to define the contamination
22   radius around the Vernon Plant. See 2015 DTSC Report. The report analyzed
23   approximately 20,000 samples and concluded that “background” (or “urban lead level”)
24
     8
25
         The word “yesterday” means April 11, 2022, the day before this brief was filed.
     9
       This number was expressed as a “UCL95” meaning the “Upper Confidence Limit” of the
26
     mean, or average, of a group of numbers – in this case lead samples in soil. UCL 95 is
27   similar in concept to a simple average, except that it allows for uncertainty about what the
     true average is in a population of data. Unless indicated otherwise, background
28
     concentrations in this brief are expressed in terms of UCL95.
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 1   was 210-250 ppm in the residential areas to the north of the Vernon Plant; 165-195 ppm
 2   in the residential areas to the south; and 170-195 ppm in the residential areas to the east
 3   and northeast. Id. Table 1. All of these ranges were more than twice as high as the Long
 4   Beach Study “background”; the range in northern areas was three times as high.
 5         Then, on March 21, 2022 – three weeks before this filing – DTSC designated a
 6   new rebuttal expert who zig-zagged again on DTSC’s “background” calculation. Dr.
 7   Singh used a statistical method – the “site-specific” background method, supra, not
 8   previously used by DTSC – to calculate a site-wide “background” of 148.2 ppm – twice
 9   as high as the result of the Long Beach Study. Exhibit 17 (“Singh Tr.”), 55:14-17.
10         Finally, on April 11, 2022, just one day before the parties filed these pretrial briefs,
11   Dr. Singh herself changed her mind. Now, instead of 148.2 ppm – her “background”
12   calculation just three weeks ago – she says “background is not one discrete value but a
13   range of values,” and “it is not appropriate to refer to background as a single number.”
14   See Declaration of Anita Singh, (“Singh Decl.”), ECF 351-4 ¶ 9. She abandons her “site-
15   specific” background calculation of 148.2, omitting all reference to it in her declaration,
16   even though it was the primary basis of the opinions in her expert report. Instead she
17   returns to the Long Beach Study.
18         All these numbers purport to represent the same thing – lead levels in the
19   residential areas if the Vernon Plant had never existed – but they all conflict with each
20   other and are therefore unreliable. If DTSC itself cannot make up its mind about the
21   “background” around the Vernon Plant, this Court cannot use this concept to determine
22   the scope of contamination around the Vernon Plant.
23                2.     DTSC’s relies now on its Long Beach Study, which it has
                         repeatedly repudiated and which has no value for this purpose.
24

25         The eight-year-old Long Beach Study has become newly important in this case as a
26   primary basis for DTSC’s effort to establish a broad compensable cleanup area. Both of
27   DTSC’s primary experts, Dr. Medine and Dr. Singh, commit in their expert declarations
28   to a defense of the Long Beach Study. See, e.g., Medine Decl. ¶ 61 (“[t]he best

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 1   background study available was conducted specifically for the Vernon Plant site and is
 2   referred to as the Long Beach study”); Singh Decl. ¶ 18 (“[t]he Long Beach Study
 3   represents the most appropriate background dataset for comparison with PIA in
 4   residential soils”). But DTSC itself has repeatedly repudiated the Long Beach Study by
 5   redoing it, as noted above, first in a 2015 report finding lead levels at levels two to three
 6   times higher than in Long Beach, then in 2022 for this case, finding lead levels twice as
 7   high. The Long Beach study was never intended to evidence the scope of contamination
 8   around the Vernon Plant, and cannot bear the weight DTSC places on it now.
 9         The Long Beach Study was ordered by DTSC in 2013 for the purpose of
10   determining whether soil investigation in the residential areas was needed in the first
11   place. Ex. 14, at ES-1. The study was for the purpose of determining whether lead was
12   elevated in the residential areas, id., and the method was to compare a small number of
13   samples (~19) in each of three areas: the northern residential area, the southern residential
14   area, and an offsite location, which turned out to be Long Beach. Id. In other words, the
15   Long Beach Study was the agency’s first attempt to determine whether any Vernon Plant
16   contamination had potentially migrated to the residential areas. The study was not
17   designed to determine the scope of contamination, and it cannot be used that way now.
18         Second, the Long Beach Study was not properly designed even for its own purpose
19   of establishing a “background” level of lead in the residential areas. DTSC has a specific
20   guidance document setting forth best practices for determining a “background” level of
21   metals like lead. See Exhibit 16 (Appendix B Guidance). But DTSC ignored that
22   guidance – its own document – entirely with respect to the Long Beach Study, never
23   referencing it or evaluating whether the Long Beach study complied with it. DTSC 1 Tr.
24   202:21-203:2; id. at 206:10-15. And in fact, the Long Beach Study did not comply with
25   that guidance, because the guidance advised trying to find a site as close as possible to
26   the Vernon Plant, and DTSC made no effort to do that. DTSC 1 Tr. 216:3-217:17.
27         Third, DTSC experts now tout the value of the Long Beach Study, but they have
28   made no effort to meaningfully compare the Long Beach sample site to the residential

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 1   areas around the Vernon Plant. Dr. Medine explicitly noted that he is not an expert on
 2   the lead “background” in the residential areas. Medine Tr. 181:20-182:2. Dr. Singh
 3   testified that she did nothing to evaluate the Long Beach Study on its merits other than
 4   read it. Singh Tr. 171:25-185:1. Neither expert, for example, evaluated whether Long
 5   Beach has a comparable number of legacy lead smelters and industrial lead-related
 6   manufacturers as exist – unlike the Vernon Plant – in the close vicinity of the residential
 7   areas around Vernon. Neither expert apparently noted, for example, that the samples in
 8   the northern residential area in the Long Beach Study were collected from properties
 9   directly adjacent to (and downwind of) Continental Can, the same facility DTSC refused
10   to investigate even at the urging of its management.
11         Finally, the Long Beach Study cannot tell the Court where contamination went,
12   which is the point of this Scope Trial. The Long Beach Study compared one small area
13   in Long Beach to one small area north of the Vernon Plant, and to one small area south.
14   The study could not – and does not – purport to characterize soil conditions throughout
15   the entire PIA, though DTSC offers it to this Court for that purpose. DTSC relies so
16   heavily on this one small study because the agency is desperate for evidence.
17         D.     DTSC’s primary expert cherry-picks away more than half the site data.
18
           DTSC’s primary expert, Dr. Medine, engages in a similar misuse of data.
19
     Purporting to isolate the impact of the Vernon Plant on residential area soils, Dr. Medine
20
     cherry-picks only data from residential yards, while excluding a vast number of samples
21
     – nearly nine thousand – from the grass “parkways” located between the sidewalk and the
22
     street in residential neighborhoods. See Rouhani Decl. ¶ 80. He gives no
23
     comprehensible reason for excluding the parkway data. Id. ¶ 81. Because the parkway
24
     data is farthest from structures and the influence of lead-based paint, however, it has
25
     consistently lower lead levels, and its exclusion biases Dr. Medine’s dataset powerfully in
26
     the direction of higher lead levels. Id. ¶ 80. Dr. Medine excludes data from area parks
27
     for the same reason, with similar upwardly- biased lead levels as a result. Id. ¶ 80.
28

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 1         Conversely, Dr. Medine claims that he is pruning from his data set samples taken
 2   within ten feet of a structure, in the so-called “dripline” where lead paint can often
 3   collect, in order to remove the confounding influence of lead-based paint. Id. ¶ 76-77.
 4   But Dr. Rouhani’s geospatial analysis of Dr. Medine’s samples revealed that more than
 5   half of the samples Dr. Medine included in his data set were, in fact, taken within ten feet
 6   of a residence. Id. ¶ 78. This is another bias in favor of higher lead levels in Dr.
 7   Medine’s dataset, in this case because Dr. Medine is analyzing a dataset more heavily
 8   influenced by lead paint than he admits.
 9         Dr. Medine then takes his biased dataset and over-averages it. Samples in a single
10   yard are converted to parcel averages, then those averages are averaged together within a
11   certain distance. Id. ¶ 88. The result is to create an illusion of patterns in the data – like
12   Dr. Medine’s supposed downward gradient over many miles – that are not actually there.
13         Notwithstanding all that data manipulation, however, the real trends in the data
14   cannot be suppressed. As discussed above, Dr. Medine’s own graphs depict the two
15   independent trends identified by Defendants in this case: A sharp downward gradient as
16   Vernon Plant lead dissipates entirely within the industrial area; and widespread, generally
17   flat lead contamination in the residential areas, unimpacted by Vernon Plant lead. Supra.
18   Dr. Medine’s dataset, as biased as it is, still tells Defendants’ story.
19         E.     DTSC grasps unsuccessfully at an old, unrelated air model.
20
           Plaintiffs attempt to inject a red herring into this case: air modeling. But no expert
21
     has ever run any air model which attempts to calculate how much lead the Vernon Plant
22
     could have deposited in the residential areas. Instead, DTSC’s experts reach for older air
23
     modeling studies which were done for different health risk assessment purposes and –
24
     according to their express user-defined settings – could not and did not calculate how
25
     much lead the Vernon Plant contributed to soils. DTSC’s experts have not investigated
26
     any of the myriad variables, including the size of the lead particles leaving the smelter
27
     stacks, which would be required to even estimate how far that lead traveled or how much
28
     of it ended up in the residential soil. More generally, the old air modeling which DTSC
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 1   now misinterprets is inherently unrealistic and simply assumes that any plume from the
 2   smelter would carry on undepleted for vast distances – up to 50 kilometers – that the air
 3   modeler himself arbitrarily chooses when he runs the model. These models tell the court
 4   nothing about what happened in the real world in the soils surrounding the Vernon Plant.
 5         F.     DTSC does not actually propose a contamination radius for this Court’s
                  evaluation, and instead seeks a blank check.
 6

 7         Defendants sought a trial on the question of the “compensable cleanup area” for
 8   two specific reasons: First, it would encourage efforts to resolve the case by making the
 9   scope of potentially compensable response costs known to all parties, bringing
10   expectations into alignment; and second, it would make the case more efficient by
11   defining the area within which the parties will contest liability, and within which various
12   industrial operators may be third-party defendants. ECF 227 at 21-24. The Court agreed
13   as a general matter, ordering the Scope Trial “as set forth in the Defendants’ proposal.”
14   ECF 231. But for these purposes to be served, the Court must actually, specifically
15   determine the compensable cleanup area. DTSC has not given the Court a proposal with
16   which the Court can do so.
17         Instead, DTSC has suggested that contamination extended “several miles” from the
18   Vernon Plant. Medine Decl. ¶ 36. These are not specific enough numbers to allow the
19   Court to actually rule on the scope of the “compensable cleanup area.” Even at his most
20   specific, Dr. Medine estimated wide ranges; for instance, his proposed contamination
21   range to the southwest of the plant, where winds blow strongest, is 1.9-2.8 miles. Medine
22   Tr. 40:17-21. But the difference in area between a circle of radius 1.9 miles and a circle
23   of radius 2.8 miles is more than thirteen square miles – i.e., much bigger than the roughly
24   ten-square-mile area of the original PIA itself. Accordingly, if the Court rules that the
25   “compensable cleanup area” is “1.9-2.8 miles” in radius from the Vernon Plant, there will
26   be more area in dispute between the parties after the Scope Trial than there was before,
27   including tens of thousands of new properties in dispute. This would mean the Scope
28   Trial was a waste of time; there is no point to having a trial over the “compensable

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 1   cleanup area” if the result is so vague that it does not streamline the case further than this.
 2   By failing to actually define a proposed compensable cleanup area, DTSC is effectively
 3   seeking a blank check from this Court.
 4   III.   UNDER NINTH CIRCUIT LAW, VERNON PLANT EMISSIONS DID NOT
            CAUSE DTSC RESPONSE COSTS IN THE RESIDENTIAL AREAS.
 5

 6          No matter which party has the burden of proof, it is clear that releases from the
 7   Vernon Plant did not cause DTSC to incur response costs in the residential areas, which
 8   are all farther than 0.5 miles from the Vernon Plant. As set forth above, contamination
 9   from the Vernon Plant did not migrate that far in detectable amounts.10
10          As a legal matter, under Boeing, the standard for causation in CERCLA can be met
11   in two ways: through “sine qua non” causation, or “causal overdetermination.” Supra.
12   In this case, that means that the compensable cleanup area is the geographic region where
13   either (1) no cleanup would have been necessary if the Vernon Plant had never existed
14   (“sine qua non” causation) in spite of the contributions of historic lead paint, leaded
15   gasoline emissions, and other local industry, including multiple other smelters; or (2) soil
16   remediation in the residential areas would have been required as a result of Vernon Plant
17   emissions even if those other sources themselves had not existed (“causal
18   overdetermination”). Conversely, an area is not within the compensable cleanup area if
19   (1) soil remediation would have been needed in that area whether the Vernon Plant had
20   existed or not; and (2) Vernon Plant emissions would not have been enough, on their
21   own, to require soil remediation in that area.
22          The residential areas are definitively in the latter category. They are not within the
23   compensable cleanup area, under Ninth Circuit CERCLA law, because (1) the impact of
24   contamination in the residential areas from lead-based paint, leaded gasoline emissions,
25   and other nearer local industry sources was more than enough, on its own, to surpass
26   10
       If burden-shifting applies under Castaic Lake, for the reasons set forth in Sections I-II
27   of this brief, DTSC has not met its burden to prove a “plausible pathway” of material
     quantities of lead from the Vernon Plant to the residential areas, let alone to all reaches of
28
     the PIA and beyond.
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 1   DTSC’s soil-lead cleanup threshold of 80 mg/kg; and (2) contamination resulting from
 2   Vernon Plant emissions was far below 80 mg/kg in residential soils.
 3         A.     According to DTSC itself, the residential areas would have been cleaned
                  under DTSC’s lead standard even in the absence of the Vernon Plant.
 4

 5         DTSC’s Final Removal Action Plan – the “Cleanup Plan” – for the PIA determined
 6   that residential properties in the PIA with lead concentrations above 80 ppm would be
 7   cleaned up. See Ex. 15 (Final Removal Action Plan) § 3.2. Moreover, when properties
 8   are cleaned, they are cleaned only to 80 ppm (not lower); the agency does not remove all
 9   lead. DTSC 1 Tr. 175:4-5 (“If the decision to clean up a property was made, we would
10   clean it up to 80 parts per million.”).
11         Even DTSC’s own expert statistician, Dr. Singh, calculated the background level
12   of lead in the residential areas of the PIA as 148 ppm (UCL95). Singh Tr. 55:14-21. This
13   functions as an admission; 148 ppm is the floor in this case. DTSC’s own background
14   calculations in 2015 were even higher, with estimated background levels of 210-250 ppm
15   in the residential areas to the north of the Vernon Plant; 165-195 ppm in the residential
16   areas to the south; and 170-195 ppm in the residential areas to the east and northeast.
17   2015 DTSC Report, Table 1. This means that DTSC itself acknowledges that under
18   DTSC’s cleanup threshold of 80 ppm, DTSC would be cleaning up the residential areas
19   of the PIA even if the Vernon Plant had never existed. Accordingly, DTSC fails the first
20   half of the Boeing causation test: “but-for” or “sine qua non” causation. The Vernon
21   Plant was not a “but-for” cause of DTSC’s response costs in the residential areas because
22   those costs would have been incurred regardless of Vernon Plant emissions or releases.
23   Based on the first half of the Boeing causation test, the residential areas of the PIA are not
24   within the compensable cleanup area.
25         B.     Any impact of the Vernon Plant would not have necessitated soil
                  cleanup in the residential areas.
26

27         Sections I and II of this brief set forth Defendants’ argument for why the Vernon
28   Plant did not contaminate the residential areas to any detectable degree, and therefore

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 1   would not have necessitated cleanup in the residential areas if residential soils were
 2   otherwise unimpacted by lead paint, gasoline, and other industrial contamination. Those
 3   arguments are not repeated here. They will be developed in the trial record and set forth
 4   in more detail in post-trial briefings and proposed contentions of fact and conclusions of
 5   law.
 6          At the highest level, that argument is as follows: DTSC’s cleanup threshold was set
 7   at 80 ppm, equal to the agency’s statewide “screening level” for lead in residential soils,
 8   meaning the level chosen conservatively for evaluating the potential health risk from lead
 9   concentrations in soil. See Ex. 15 (Final Removal Action Plan) § 2.4. The agency does
10   not chase every molecule of lead in the soil; it cleans up where soil lead levels are above
11   80 ppm. Indeed, the agency only cleans up to 80 ppm – 80 ppm is what is left in the
12   ground after DTSC’s cleanup. DTSC 1 Tr. 174:13-175:5.
13          Here, while Defendants’ experts have not been able to rule out trace lead
14   contamination in the residential areas from the Vernon Plant, they have testified
15   consistently that any such contamination is not detectable, and its contribution to
16   residential soil lead levels is far below 80 ppm. Dr. Rouhani has testified that his
17   quantitative methods have detected no lead beyond approximately 0.5 miles from the
18   Vernon Plant to a high degree of sensitivity. Dr. Shields used complementary methods of
19   soil pattern analysis, less purely quantitative, but with an estimated sensitivity level of
20   approximately 50 ppm – meaning that Dr. Shields testified that he is confident that his
21   methods would detect a contribution of Vernon Plant lead to the residential soils of more
22   than 50 ppm. Together, these analyses robustly confirm that any contribution from the
23   Vernon Plant, on its own, would not have contaminated residential soils anywhere near
24   DTSC’s 80 ppm screening threshold. In the absence of lead-based paint, legacy gasoline
25   emissions, and the impact of other smelters and industrial facilities, the influence zone of
26   the Vernon Plant would be considered perfectly safe under DTSC’s own soils screening
27   criteria. Based on the second half of the Boeing test, therefore, the residential areas of the
28   PIA are not within the compensable cleanup area.

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 1
     IV.   EVEN IF CAUSATION EXISTS, THE DIVISIBILITY DOCTRINE STILL
           ALLOWS A 0.5-MILE COMPENSABLE CLEANUP AREA.
 2
           Defendants have proven a reasonable basis for distinguishing between the impacts
 3
     form the former smelter and the impacts from other causes, such as the legacy of lead-
 4
     based paint. See supra; Burlington Northern, 556 U.S. at 613-14 (divisibility doctrine
 5
     applicable when there is a reasonable basis for determining the contribution of each cause
 6
     to a single harm). Expert testimony from Drs. Rouhani and Shields provide an objective,
 7
     scientific basis for the Court to apportion harm between Defendants (on one side) and
 8
     other causes of lead contamination (on the other).
 9
           First, Dr. Rouhani has testified that smelter emissions had no statistically
10
     detectable impact on DTSC’s soil lead measurements in the residential areas, necessarily
11
     meaning that such emissions “did not… when mixed with other hazardous wastes,
12
     contribute to the release and the resultant response costs[.]” Alcan, 964 F.2d at 270
13
     (emphasis in original).11 DTSC’s decision whether to incur response costs to clean up a
14
     particular property is not made on a molecular level, it is based on lead concentrations
15
     reported in a lab report, the very data that Dr. Rouhani used in his analysis. If, as he
16
     testifies, smelter emissions did not affect the lab results, those emissions did not
17
     contribute to the identified release or DTSC’s resultant response costs.
18
           Second, the courts have often found a basis for divisibility based on the geographic
19
     distribution of contamination. 12 Here, Drs. Shields and Rouhani have presented scientific
20
     bases for determining that the geographic extent of Vernon Plant contamination is limited
21
     to a radius of 0.5 miles. Thus the doctrine of divisibility provides the Court with an
22
     additional legal basis for defining the compensable cleanup area to extend no further than
23
     the industrial area.
24

25   11
       See also Dent v. Beazer Materials and Services, Inc., 156 F3d. 523, 531 (4th Cir. 1998)
26   (zero apportionment where hazardous substances did not require remediation).
     12
27     See, e.g., U.S. v. Rohm & Haas Co., 2 F.3d 1265, 1280 (3d Cir. 1993) (if defendant
     could show that none of the hazardous substances at a site were fairly attributable to it,
28
     court could conclude that apportioned share should be zero).
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 1

 2
                                  SIGNATURE ATTESTATION
 3   Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Eric L. Klein, attest that all other signatories
 4   listed, and on whose behalf this filing is submitted, concur in the filing’s content and have
     authorized the filing.
 5

 6   Dated: April 12, 2022                        /s/ Eric L. Klein
                                            Eric L. Klein
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